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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



ROMAN CATHOLIC ARCHBISHOP
OF WASHINGTON, a corporation sole,
                                         Civil Action No. 20-3625 (TNM)
            Plaintiff,

      v.                                 ELECTRONICALLY FILED

MURIEL BOWSER, et al.,

            Defendants.




                        REPLY IN SUPPORT OF
    PLAINTIFF’S APPLICATION FOR A TEMPORARY RESTRAINING ORDER
                    AND PRELIMINARY INJUNCTION
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       After weeks of refusing to budge, the Mayor issued a midnight Order last night changing

the restrictions on indoor worship from a 50-person cap to a 25% capacity limit with a 250-

person cap. As the Supreme Court recently held, however, this type of unilateral change

designed to evade judicial review “clear[ly]” does not moot a request for injunctive relief.

Roman Catholic Diocese of Brooklyn v. Cuomo, No. 20A87, 2020 WL 6948354, at *3 (U.S.

Nov. 25, 2020). Without an injunction, the “applicants remain under a constant threat” that the

Mayor could re-impose the prior restrictions at any time “without prior notice,” which would

“almost certainly bar individuals in the affected area from attending [religious] services before

judicial relief can be obtained.” Id. That concern is especially acute with Christmas on the

horizon, because “there may not be time for [the Archdiocese] to seek and obtain relief from this

Court” before Christmas Mass next week. Id. Accordingly, this Court should not “turn away” the

Archdiocese’s “meritorious claims just because the [mayor] decided to hit the ‘off’ switch in the

shadow of [judicial] review.” Id. at *6 (Gorsuch, J., concurring). It should enter an injunction to

protect the Archdiocese’s rights, just as the Supreme Court did in Diocese of Brooklyn.

I.     THE CHALLENGE TO THE 50-PERSON CAP IS NOT MOOT

       Contrary to Defendants’ drive-by assertion (Opp., at 2, n.1), “[i]t is clear that [the

Archdiocese’s claims for injunctive relief are] not moot.” Diocese of Brooklyn, 2020 WL

6948354, at *3. Although the Mayor’s latest order has unilaterally altered the cap on worship

services for the time being, the government cannot demonstrate that the challenge to the 50-

person cap is moot unless it “bears the formidable burden of showing that it is absolutely clear

the allegedly wrongful behavior could not reasonably be expected to recur.” Friends of the

Earth, Inc. v. Laidlaw Environmental Services (TOC), Inc., 528 U. S. 167, 189-90 (2000). The

District does not even attempt to satisfy this “stringent” standard, nor can it. Id. at 189.




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       Mayor Bowser “could restore the [challenged] restrictions just as easily as [s]he replaced

them, or impose even more severe restrictions.” Calvary Chapel Dayton Valley v. Sisolak, No.

20-16169, 2020 WL 7350247, at *1, n.1 (9th Cir. Dec. 15, 2020); see also Elim Romanian

Pentecostal Church v. Pritzker, 962 F.3d 341, 344–45 (7th Cir. 2020). In fact, the Mayor

“regularly changes” the District’s COVID-19 restrictions on public gatherings, Diocese of

Brooklyn, 2020 WL 6948354, at *3, and has done so five times over the past eight months. See

ECF Nos. 11-8, 11-9, 11-10, 11-11; Order of 12/16, https://tinyurl.com/ydc6h7na. And the last

time the District voluntarily loosened restrictions on houses of worship, it turned around and re-

imposed tighter restrictions just months later. See Planned Parenthood of Wisconsin, Inc. v.

Azar, 942 F.3d 512, 518 (D.C. Cir. 2019) (“When estimating the likelihood of an event’s

occurring in the future, a natural starting point is how often it has occurred in the past.”).

       The District concedes that such changes are the natural consequence of fluctuating

pandemic conditions. See Opp., at 6; https://tinyurl.com/ydc6h7na, at 2 (“[C]ircumstances have

warranted a tightening, not a loosening, of several Phase Two requirements, and further

restrictions are contemplated[.]” (emphasis added)). And given that the future of the pandemic is

yet unknown, the District simply cannot claim—let alone guarantee—that circumstances in the

District will not worsen yet again. If they do, the District’s track record provides no reassurances

that the unlawful and discriminatory restrictions on worship will not be re-imposed.

       Notably, Defendants never even represent to this Court that the 50-person cap on Masses

will not be reinstated. And even if they had done so, such “meager ‘promise[s]’” and “‘waves of

[the] hand’” cannot satisfy the District’s burden under the voluntary-cessation doctrine.

Hardaway v. DC Housing Authority, 843 F.3d 973, 980 (D.C. Cir. 2016). Indeed, just this week

the Supreme Court granted certiorari and remanded a similar case for further proceedings in light




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of Diocese of Brooklyn over the dissent of three Justices who claimed the case was moot in light

of the State’s assurances that it would not re-impose its now-repealed restrictions on worship.

See High Plains Harvest Church v. Polis, No. 20A105, (U.S. Dec. 16, 2020), ECF. No. 15, Ex.

C. It is telling that here, the District has not even attempted to offer such assurances to the Court.

       On the contrary, Defendants remarkably devote much of their opposition brief to

defending the unlawful 50-person cap on houses of worship, strongly suggesting that they may

try to re-impose it. They continue to assert that this arbitrary cap “was the correct approach,”

ECF No. 17-1, at 7, arguing that it “d[id] not substantially burden or interfere with [the

Archdiocese]’s ability to conduct its religious activities,” Opp., at 2, and even going so far as to

falsely insinuate that it accords with the sentiments of Pope Francis himself, see Opp., at 1, 7.

Thus, the only thing the District has made “absolutely clear,” Friends of the Earth, 528 U.S. at

189, is that the Archdiocese “remain[s] under a constant threat” that the 50-person cap will be

reinstated. Diocese of Brooklyn, 2020 WL 6948354, at *3.

       Absent injunctive relief, the Mayor remains free to restore the illegal 50-person cap on

worship “[a]t the flick of a pen.” Id. at *5 (Gorsuch, J., concurring). And without an injunction,

reinstating the cap would irreparably harm on the Archdiocese because, in light of the weekly

and daily nature of the Mass, such restrictions would “bar [many] from attending services before

judicial relief can be obtained.” Id. at * 3 (per curiam). The Archdiocese therefore requests that

the Court enter a temporary restraining order and preliminary injunction prohibiting the District

from reinstating its unlawful 50-person cap on houses of worship.

II.    THE ARCHDIOCESE IS LIKELY TO SUCCEED ON THE MERITS

       In its opening brief, the Archdiocese explained that both RFRA and the Free Exercise

Clause independently require strict scrutiny of the 50-person cap on indoor worship, which

imposes a substantial and discriminatory burden on religious exercise. The Archdiocese also


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explained that the cap cannot survive strict scrutiny in light of the many other ways that the

District could protect public health—including by using capacity-based limits or mask and

social-distancing requirements as it does for many comparable secular activities, and as many

jurisdictions do for churches. Defendants’ response confirms as much.

       A.      Both RFRA and the Free Exercise Clause require strict scrutiny

               1.      RFRA requires strict scrutiny because the Order substantially
                       burdens religious exercise

       Defendants cannot seriously deny that banning Mass with more than 50 people

substantially burdens the Archdiocese’s religious exercise. As the Supreme Court recently

recognized, such hard caps “effectively bar[] many from attending religious services, strik[ing] at

the very heart of the First Amendment’s guarantee of religious liberty.” Diocese of Brooklyn,

2020 WL 6948354, at *3. Indeed, holding religious services for the faithful is a core religious

exercise, and imposing fines on a church for doing so is a textbook substantial burden.

Defendants’ contrary arguments lack merit.

       a.      Defendants claim that there is no substantial burden because the Archdiocese is

not religiously “required” to hold Mass with more than 50 people. Opp. at 7. This is wrong as a

matter of both law and fact. As a matter of fact, the Archdiocese does sincerely believe that it has

a religious duty to open the church doors to its flock and offer Mass to more than 50 people at a

time under the effective safety protocols that it has developed. See TRO Br. at 12-13; Carson

Decl. ¶ 12. Defendants do not offer any basis to doubt the sincerity of that religious belief, and

they cannot question its validity. As the Supreme Court has repeatedly held, “it is not for [the

courts or the Mayor] to say that [a plaintiff’s] religious beliefs are mistaken or insubstantial.”

Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 725 (2014). Instead, what matters is that the

Archdiocese has a “sincere” and “honest” belief that it has a religious duty to make Mass



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available for more than 50 people in churches that can hold 200-3,000 people. Id. And because

the 50-person cap threatens “substantial” penalties against the Archdiocese for carrying out that

religious duty, it imposes a clear substantial burden on religious exercise. Id. at 720; see also

Wisconsin v. Yoder, 406 U.S. 205, 208 (1972) (substantial burden because plaintiffs “were fined”

for their religious exercise).

        In any event, it makes no difference whether holding Mass for more than 50 people is in

some sense “required” under the Archdiocese’s religious beliefs. RFRA protects “any exercise of

religion, whether or not compelled by, or central to, a system of religious belief.” 42 U.S.C.

§ 2000cc–5(7)(A) (emphasis added). Thus, as this Court previously held, “the burdened

[religious] practice need not be strictly compelled by the religious tradition at issue to merit

protection.” Capitol Hill Baptist Church v. Bowser, 2020 WL 5995126, at *5 (D.D.C. Oct. 9,

2020). Indeed, “[m]any cherished religious practices are performed devoutly by adherents who

nonetheless do not or cannot insist that those practices are mandated.” Levitan v. Ashcroft, 281

F.3d 1313, 1320 (D.C. Cir. 2002). For example, it is not mandatory for Catholics to say the

Rosary or attend Mass on weekdays that are not Holy Days of Obligation, but it surely would be

a substantial burden for the government to prohibit them from doing so.

        Those commonsense examples show why “[n]either the Supreme Court nor [the D.C.

Circuit] has ever adopted a rule limiting protection to practices that are compelled by a litigant’s

religion.” Id. Instead, the protected “exercise” of religion includes any “religiously motivated

conduct.” Employment Div., Dep’t of Human Res. of Or. v. Smith, 494 U.S. 872, 877 (1990); see

also Sherbert v. Verner, 374 U.S. 398, 403 (1963) (describing religious exercise as any “conduct

prompted by religious principles”); Hobby Lobby, 573 U.S. at 696 (explaining that protected

religious exercise under RFRA is even broader than under the First Amendment). Accordingly,




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even if opening the church doors to more than 50 people were somehow “optional” rather than

“required” under the Archdiocese’s religious beliefs (which is an impermissible inquiry for a

secular court to make), that still would not matter to the substantial-burden inquiry.

       b.      Defendants curiously contend that there is no substantial burden here because the

Archdiocese has not “proved” that more than 50 people would attend Mass if allowed. Opp. at 9-

10. But if Masses with over 50 people did not regularly occur, then the District would not have

felt the need to ban them. It is glaringly obvious on its face that many Masses within the

Archdiocese would draw more than 50 people if not prohibited by the government. Such Masses

continue to occur every week just a short drive up the road in Maryland. See Supplemental

Declaration of Very Reverend Daniel Carson (“Carson Supp. Decl.”) ¶ 10.1 Pre-registration for

Christmas Masses in many parishes throughout the District filled up under the 50-person cap;

one within thirty minutes of the online registration opening. Id. ¶ 12. And many churches in the

Archdiocese have reported that they have recently had to turn people away from Mass under the

50-person cap imposed by Defendants, even as they have increased the number of Masses

available. Carson Supp. Decl. ¶ 14. Accordingly, there can be no serious doubt that imposing a

50-person substantially interferes with the Archdiocese’s core religious exercise—and key

religious duty—of making Mass broadly available to the faithful.

       c.      Contrary to what Defendants say, imposing a 50-person cap on church services is

nothing like an ordinary “reasonable restriction[] on the time, place, or manner of protected

speech.” Opp. at 8. As the Supreme Court has recognized, a church’s freedom to open its doors

to the faithful implicates “the very heart of the First Amendment’s guarantee of religious liberty.”

Diocese of Brooklyn, 2020 WL 6948354, at *3. The sanctuary of a church is not just a generic

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         The Archdiocese contemporaneously files a motion for leave to file the supplemental
declaration under Local Rule 65.1(c).


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“place” like any other where religious expression can be regulated at will, but a unique and

sacred setting that has irreplaceable value for religious believers. See Carson Supp. Decl. ¶¶ 16-

18 (“The Archdiocese believes that God is truly and sacramentally present inside its churches.”).

       Accordingly, this case is nothing like other cases involving reasonable time-place-and-

manner rules as applied to religious exercise. The two most prominent examples are Henderson v.

Kennedy, 253 F.3d 12 (D.C. Cir. 2001), and Mahoney v. Doe, 642 F.3d 1112 (D.C. Cir. 2011);

see also id. at 1122 (Kavanaugh, J., concurring). Both cases involved only incidental regulations

of the time, place, and manner of speech on public property. In Henderson, the plaintiffs were

prohibited from selling t-shirts on the National Mall, and in Mahoney they were prohibited from

chalking on the street in front of the White House. But in both cases they were free to pursue the

same religious exercise of spreading the gospel through an “infinite” variety of alternative means

that would serve their purposes equally well. Capitol Hill Baptist, 2020 WL 5995126, at *6. The

particular places and means of expression (chalking at the White House and selling t-shirts on

the Mall) did not have any particular religious significance. Nor were the alternatives inferior in

any way: it was not less effective or more expensive to spread the gospel by chalking or selling t-

shirts in other places, or by different means of communication altogether. Cf. Payden-Travers , v.

Talkin, No. CV 13-1735 (CKK), 2017 WL 2371116, at *4–5 (D.D.C. May 31, 2017) (time-

place-and-manner rules do not interfere with religious exercises that has a special significance

“at this particular time and place as compared to all others”).

       Here, by contrast, there is no adequate substitute for holding Mass in person in the unique

setting of a church. Catholics cannot worship remotely because it is not possible to receive the

Eucharist by Zoom. Carson Decl. ¶ 10. And the Catechism places special emphasis on in-person

gatherings at Mass, in accordance with the Biblical injunction “not to neglect to meet together.”




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Id. ¶¶ 10-11 (quoting Catechism of the Catholic Church § 2178 (quoting Hebrews 10:25)).

Accordingly, while RFRA may not give religious adherents the right to express themselves on

government property in disregard of reasonable time-place-and-manner rules, it also does not

give the government a blank check to reach into church property and impose caps on the number

of people who can worship there. Denying the Archdiocese the liberty to make its churches

broadly available to the faithful is an undeniable substantial burden on religious exercise.

       d.      Defendants appear to suggest that the Archdiocese could avoid the burden of the

50-person cap simply by holding “outdoor” Masses without any limitation. Opp. at 8. But

forcing parishioners out into the cold in the middle of winter is not an adequate substitute for

holding Masses in church, for both religious and practical reasons.

       As a religious matter, the Archdiocese sincerely believes that outdoor Masses are not an

adequate religious substitute because God is truly and sacramentally present inside its churches.

Carson Supp. Decl. ¶ 16. It further believes that the iconography and architecture of its churches

are key aspects of the liturgical experience. Id. ¶ 17. And importantly, under Canon Law, “[t]he

eucharistic celebration is to be carried out in a sacred place unless in a particular case necessity

requires otherwise,” with “necessity” being determined by the Archbishop of Washington—not

secular authorities. Id. ¶ 15 (citing Code of Canon Law 932, § 1).

       In addition, myriad practical considerations make outdoor Masses an inadequate

alternative. Carson Supp. Decl. ¶ 19. Well over a third of the Archdiocese’s churches do not

have enough outdoor space to hold Mass, especially with social-distancing requirements. Id.

¶ 20. Weather and other conditions present further obstacles. In the winter, cold temperatures

will render it impossible for many elderly or young Catholics to attend Mass at all. Id. ¶ 21. The

presence of rain, snow, ice, or strong winds could likewise endanger parishioners, as well as the




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physical integrity of the Eucharistic hosts, which the Church regards as sacred. Id. And the

expense and other burdens of planning, setting up, and taking down daily outdoor Mass would be

substantial. Id. at 26; see also, e.g., Hobby Lobby, 573 U.S. at 722–23 (2014) (finding substantial

burden where taking extra steps to comply would entail significant practical burden and expense);

cf. Islamic Center of Miss., Inc. v. City of Starkville, 840 F.2d 293, 299 (5th Cir. 1988) (same).

This is especially true considering that parishes would be required to invest in sound systems,

Carson Supp. Decl. ¶ 23-24, and lighting systems for early morning and evening Masses, id. at

¶ 22. Finally, even if a parish were able to bear such financial and administrative burdens, noises

and other distractions would significantly impair the solemnity of the Mass. Id. ¶ 25. This is

especially true of Masses celebrated on week days in busy commercial areas throughout the

District, which would be forced to compete with the sounds of rush hour, commuters passing by,

construction, and other disruptions. Id.

       e.      Defendants also argue that the 50-person cap is not a substantial burden because

the Archdiocese could “hold many Masses in a day” to accommodate worshippers indoors. Opp.

at 11. But as a religious matter, canon law limits the number of Masses a priest can celebrate

each day—typically up to three on Sundays (if pastoral need requires it) and two on weekdays

(for good reason). Carson Supp. Decl. ¶ 4. And most parishes have only one or two priests

available to say the Mass. Id. ¶ 4. Moreover, it would be statistically impossible for the

Archdiocese to hold enough Masses of that size to accommodate its full flock—especially at

Christmas. For example, St. Matthew’s Cathedral typically holds seven different hour-long

Masses on Christmas that are nearly full to capacity. Carson Supp. Decl. ¶ 11. In Christmas 2019,

a total of 6,000 people attended Christmas Mass there. Id. Thus, in order to accommodate all of

these people under the District’s 50-person cap, the Cathedral would need to hold at least 120




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Masses. Id. Even outside of the Christmas season, nearly 2,000 people typically attend Mass at

St. Matthew’s on a regular Sunday, which would require roughly 40 Masses to accommodate

under the cap. Id. ¶ 8. The problem is even more acute in the Basilica, which had approximately

13,650 attendees for its Christmas Masses in 2019—that would require 273 Christmas Masses at

a 50-person cap. Id. ¶ 11. There simply are not enough hours in the day.

       This reality explains why the Supreme Court has recognized that numerical caps

“effectively bar[] many from attending religious services.” Roman Catholic Diocese of Brooklyn

v. Cuomo, No. 20A87, 2020 WL 6948354, at *3. And as noted above, many churches in the

Archdiocese have reported that they have recently had to turn people away from Mass under the

50-person cap imposed by Defendants, even as they have increased the number of Masses

available. Carson Supp. Decl. ¶¶ 12, 14.

       Even if it were somehow possible for the Archdiocese to hold hundreds or thousands of

extra Masses to accommodate everyone under the 50-person cap, forcing the Archdiocese to do

so would itself be a substantial burden. For one thing, the scheduling of Masses on the liturgical

calendar is itself a religious decision in which the government has no business interfering.

Carson Supp. Decl. ¶ 5. And even putting that aside, holding so many extra Masses would

involve an extraordinary drain on the church’s resources, both physical and spiritual. There are

only so many Masses the clergy can celebrate, and each additional Mass also entails additional

financial cost to pay for cantors, organists, security guards, cleaning, and utilities. Id. ¶ 7. On top

of that, there are also significant logistical burdens in lining up Deacons, ushers, altar servers,

Eucharistic ministers, and others needed to help with each service. Id. ¶ 7. And, notably, the

Archdiocese’s public-health precautions place further practical constraints on the number of

Masses that can be offered each day. Id. ¶ 6. Thus, even if it were feasible, forcing these




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additional costs on the Archdiocese to comply with Defendants’ 50-person cap would be

substantially burdensome in its own right.

                2.      The Free Exercise Clause requires strict scrutiny because the Order is
                        not neutral or generally applicable

        As the Archdiocese showed, the November order discriminated against churches by

subjecting them to a 50-person cap never applied to restaurants, “public libraries, big-box retail

stores, train and metro stations, . . . offices, tattoo parlors, nail salons, laundromats, liquor stores,

and marijuana dispensaries.” Mem. at 1, 12, 13, 21, 25. “Because the challenged restriction[ was

therefore] not ‘neutral’ and of ‘general applicability,’” it triggered strict scrutiny. Diocese of

Brooklyn, 2020 WL 6948354, at *2.

        The District now contends that the 50-person cap did not discriminate against houses of

worship at all. Opp. at 12. To be clear, the District does not—because it cannot—assert that any

secular facility (at all) labored under a 50-person cap or anything like it. See id. (admitting that

“the [November] order . . . did distinguish between houses of worship and secular facilities”). So

no one disputes that the hard numerical limit, on its face, targeted houses of worship. Instead, the

District is reduced to arguing that this facial discrimination probably would have made no

practical difference in the end, or at least not very often. See id. at 14 (allowing that plaintiff

might be able to establish a few “exceptions” to supposedly uniform treatment of churches and

other buildings, but arguing that “it is unclear that” this “would support a finding of disparate

treatment”). But the District’s arguments on this score are variously irrelevant, self-defeating,

and contrary to precedent and commonsense.

        As to each of the comparators mentioned by the Archdiocese, the District’s overriding

strategy is to argue that for all we know, those buildings might never have gone beyond 50

occupants absent a hard cap anyway. Yet the District evidently worried that churches would



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have. (Why else impose the cap?) The District cannot have it both ways. If it is content to

assume without evidence that secular buildings will never exceed 50 occupants, it must give

churches the benefit of the same assumption. Its failure to do so highlights the discriminatory

nature of its November order, and the fundamental reason that all its defenses on this score fail:

The order by its terms allowed every other facility to exceed 50, but not churches. It is irrelevant

that contingent factors outside the order might, in the end, conspire to keep it from having the

discriminatory effect built into its design. On the contrary, it is “the minimum requirement of

neutrality” “that a law not discriminate on its face.” Church of the Lukumi Babalu Aye, Inc. v.

City of Hialeah, 508 U.S. 520, 533 (1993) (emphasis added).

       Put otherwise, if the District were right that secular buildings would rarely or never

exceed 50 occupants, there would have been no harm in applying the 50-person cap to all

buildings, just in case, and thus no reason to refrain from doing so. See id. at 545 (a law

“underinclusive on its face” triggers strict scrutiny under the Free Exercise Clause). That the

District went out of its way to limit the numerical cap to churches proves that churches were

treated worse. In short, if the shape of the 50-person cap served any purpose at all, it was

necessarily a discriminatory one.

       The District’s various ancillary arguments—all meant to support its “no practical

difference in the end” defense of this discrimination against houses of worship—likewise fail.

       First, the District offers a self-defeating rebuttal to the Archdiocese’s illustration of the

discriminatory treatment based on four D.C. restaurants likely to seat more than 50 in the

absence of a hard cap. Mem. at 16. The District’s response addresses none of the restaurants save

one: The Hamilton. And its primary point is that The Hamilton’s large occupancy (848 in

ordinary times, by the District’s own concession) is spread over “separate rooms.” Opp. at 13.




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But just two pages earlier the District had leaned on the fact that many of “plaintiff’s churches”

likewise have “multiple sanctuaries and chapels.” Id. at 11. If the sprawling churches nonetheless

faced an absolute limit of 50, so should The Hamilton, however intricate its floorplan. If the

District were concerned about “clouds of aerosol particulates” wafting from room to room within

a building, Opp. at 16, consistency would have required it to limit even multi-room restaurants to

50 people. But it did not. This under-inclusiveness proved that large churches were treated worse

than large restaurants for no good reason. See Lukumi, 508 U.S. at 545. In fact, the under-

inclusiveness is even more glaring when one considers that while The Hamilton has 848 seats for

diners, its official occupancy limit is 1,358—which includes waiters, cooks, and other staff. See

Opp. Ex. E (certificate of occupancy specifying 848 seats but a total occupant load of 1358).

       Second, in another attempt to rebut the Archdiocese’s comparison to restaurants, the

District points out that they faced “additional restrictions on their operation that do not apply to

houses of worship”—for example, a rule that dining tables “must be placed at least 6 feet apart.”

Id. at 13–14. Of course, it was no great act of self-restraint for the District to spare the churches

from this rule since church sanctuaries have no dining tables to keep 6 feet apart. But churches

do host families of worshippers, subject to a substantively identical rule requiring them to remain

“at least six (6) feet from each other group.” Mayor’s Order 2020-075, at 6.

       Likewise, the District notes that restaurants are now (though not under the November

order at issue here) required to stop selling alcohol at 10:00 p.m. Opp. at 14. And that might

perhaps have offset the disparate burden created by the 50-person cap on churches—in the

imaginary world in which churches hosted recreational drinking past 10:00 p.m. or, indeed, at

all. Back in the real world, the District’s imposition of an “last call” rule on restaurants but not

churches hardly cures the discrimination in cutting off churches but not restaurants at 50 people.




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       Third, the District attempts only in passing—and quite unconvincingly—to distinguish

the nearly dozen other facilities that the November order treated better than churches, including

big-box stores, laundromats, liquor stores, marijuana dispensaries, and train and bus terminals.

First, it says that the Archdiocese cannot rely on these without providing evidence that

“employees and patrons spend hours” at such venues. Opp. at 14. But this is a commonsense fact

already accepted by many judges, including in the most recent Supreme Court decision on this

matter, where Justice Gorsuch made the same point about some of the exact same comparators.

See Diocese of Brooklyn, 2020 WL 6948354, at *4 (Gorsuch, J., concurring) (“People may

gather inside for extended periods in bus stations and airports, in laundromats and banks, in

hardware stores and liquor shops.”) (emphases added); see also Denver Bible Church v. Azar,

No. 20-cv-2362, 2020 WL 6128994, at *12 (D. Colo. Oct. 15, 2020) (“What is the meaningful

difference between, say, a warehouse, a restaurant, or an elementary school—where employees,

diners, and students spend long periods in a closed-indoor setting—and a house of worship”)

       The District’s only other attempt to distinguish churches from big-box retail stores—

some of which faced no occupancy limit, percentage-based or numerical—rests on the fact that

stores are subject to occupancy limits that were put in place long before COVID. But then so are

churches. That did not stop the Supreme Court from homing in on disparate treatment of retail

stores over churches in its most recent opinion on COVID and worship. Diocese of Brooklyn,

2020 WL 6948354, at *2 (finding it “troubling” that “a large store in Brooklyn . . . could

‘literally have hundreds of people shopping there on any given day’” while “a nearby church or

synagogue would be prohibited from” exceeding a rigid cap blind to its size or capacity). Indeed,

courts around the country have drawn the same comparisons. See, e.g., Tabernacle Baptist

Church, Inc. of Nicholasville v. Beshear, 459 F. Supp. 3d 847, 855 (E.D. Ky. 2020) (“If social




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distancing is good enough for Home Depot and Kroger, it is good enough for in-person religious

services which, unlike the foregoing, benefit from constitutional protection.”).

       In the end, commonsense, precedent, and even (inadvertently) some of the District’s own

points in its briefing here confirm what has always been apparent on the face of its November

order: that its 50-person cap singled out churches for no good reason. That was discriminatory.

And discrimination against churches triggers strict scrutiny under the First Amendment—in

COVID as in ordinary times. See Diocese of Brooklyn, 2020 WL 6948354, at *2.

       B.      The Order cannot survive strict scrutiny

       Defendants bear the burden of proving their strict-scrutiny affirmative defense, but they

have not even acknowledged that they bear that burden, much less come close to meeting it. In

Gonzales v. O Centro, 546 U.S. 418 (2006), the Supreme Court held that in evaluating a strict

scrutiny affirmative defense, courts must “look[ ] beyond broadly formulated interests justifying

the general applicability of government mandates and scrutinize[ ] the asserted harm of granting

specific exemptions to particular religious claimants.” Indeed, strict scrutiny is evaluated

“through application of the challenged law ‘to the person’—the particular claimant whose

sincere exercise of religion is being substantially burdened.” Id. at 430-31 (quoting RFRA, 42

U.S.C. § 2000bb–1(b)). That requirement applies to all three elements of the affirmative

defense—compelling interest, furtherance of that interest, and least restrictive means.

       Defendants’ eleventh-hour decision to raise the cap from 50 to 250 persons shows by

itself that the 50-person cap fails strict scrutiny. By raising the cap, the District can no longer

defend it as truly necessary. That fact alone would be enough to dispose of Defendants’ strict-

scrutiny defense with respect to the preliminary injunction.

       However, even without the last-minute change of heart, the District’s in-person cap on

the number of Catholics who can attend worship fails strict scrutiny. First, the lack of a rigid


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numerical cap on many other indoor gatherings—both before and even after the new order—

shows that Defendants have no compelling need to impose the cap on religious worship. Indeed,

Defendants’ own contact-tracing data belie their claim of a compelling interest in applying a hard

numerical cap to the Archdiocese’s worship services. Defendants’ lack of credibility is only

furthered by their frank admission that they came up with their new cap by looking at the

capacity of the largest restaurant in the District and multiplying by 25%.

       Second, Defendants have not met their burdens of evidence and persuasion to show that

their chosen means—a rigid numerical cap—furthers their interest in preventing the spread of

COVID. Forty-one states have not found it helpful to use a cap to further the identical interest,

instead using social distancing and other CDC-approved means, or percentage limits. And caps

also directly undermine the District’s interest by forcing more parishioners into smaller churches

instead of accommodating them in much larger facilities like the Cathedral or the Basilica, which

can create far lower density of parishioners due to their enormous size.

       Third, Defendants also cannot show that the cap is the least-restrictive means available to

protect public health when they themselves use other means elsewhere; when both Virginia and

Maryland are allowing Masses to safely continue with more than 50 people every day of the

week; and when the District is an outlier nationally, with only 9 states and the District imposing

numeric in-person caps at all. Although they would have to show all three elements to prevail on

their strict scrutiny claim, Defendants fail on each one.

               1.      The District has no compelling interest in imposing a hard numerical
                       cap on Mass attendance.

   “Stemming the spread of COVID–19 is unquestionably a compelling interest[.]” Diocese of

Brooklyn, 2020 WL 6948354, at *2. But the District must show that it has a compelling interest




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in banning the specific religious practice here. Generalized interests in protecting public health

are not enough. See O Centro, 546 U.S. at 436.

   The District’s numeric caps on worship attendance cannot meet this standard. First, by

abandoning the 50-person cap (at least for now), the District has essentially conceded that it

lacks a compelling interest in such a stringent limit—after all, if it were compellingly important

to keep a 50-person limit, the District would do so. The District stated that it adopted the new

policy “[i]n order to resolve litigation,” and that it chose the number 250 based on “the

maximum number of persons at the largest restaurant,” The Hamilton. Mayor’s Order 2020-126

at 2; District Opp. Ex. E. By its own admission, then, the District’s 250-person cap was designed

to avoid harming the interests of District restauranteurs while limiting religious worship at large

churches like the Shrine.

   The District’s evidence is not enough to overcome its transparent admission that its new cap

is based on politics, not science. The District’s declarant, Dr. Nesbitt, cites religious events in

Washington State, Arkansas, and South Korea, all from the early days of the pandemic, when

masks and social distancing were not widely practiced. Nesbitt Decl. at 5; see also District Opp.

Ex. C D. The District makes no effort to engage with the data from more than one million

Masses celebrated publicly in the U.S. since the pandemic began, nor with the experiences of

public health officials in Virginia and Maryland, where public Masses have been allowed

without fixed caps for months.

   Instead, the District asserts that religious worship is riskier than shopping, exercising in an

indoor gym, or dining out. District Opp. at 16. But the District’s own data rebut this point.

According to the District’s contact tracing, shopping and eating out are both far riskier than




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religious worship, and exercising in an indoor gym (which involves sustained presence and

increased aerosol spread through deep breathing), has a roughly equal risk level.

   The District has publicly posted contact tracing data identifying settings where COVID

outbreaks have occurred (“Outbreak Data”),2 and about the activities of COVID-positive District

residents in the two weeks before their diagnosis (“Exposure Activities”). 3 The District’s

Outbreak Data identifies settings in which there has been an “outbreak”—defined as “two or

more cases of COVID-19 reported at a location within a 14-day period.”4 Of the 136 outbreaks

traced between August 1 and December 10, just two have occurred at houses of worship.5 In

other words, less than 1.5 % of all COVID outbreaks in the District have been traced to houses of

worship. By contrast, restaurants, bars, and food retail buildings account for 32 COVID

outbreaks, or 23.5% of the total. See App’x A. The District’s Exposure Activities data tell a

similar story. The District collects data on activities that COVID-positive District residents

reported having engaged in during the two weeks preceding their diagnosis. According to this

data, from November 20 to December 10, just 3% of COVID-positive residents reported having

participated in “faith events.” COVID-positive DC residents were five times as likely to report

traveling or dining out, and twice as likely to report receiving personal care services. App’x B.


       2
           District of Columbia, https://coronavirus.dc.gov/page/outbreak-data.
       3
           District of Columbia, https://coronavirus.dc.gov/page/exposure-activities.
       4
          On the same page, the District observes that, “in communities with substantial COVID-
19 transmission, even if two or more cases are identified at a location, it is possible that the cases
are not related.” https://coronavirus.dc.gov/page/outbreak-data.
       5
         According to the “Data Notes” provided with this chart, “The place of worship category
includes persons involved in activities both within the building (e.g. prayer services, communion,
sacraments, services, meetings), on its premises (e.g. service held outside), and offsite activities
(e.g. food distribution locations, volunteer activities).” District of Columbia, COVID-19
Outbreak Data Guide (https://tinyurl.com/yctzo3ao). In other words, the two outbreaks attributed
to “Place of worship” may not have involved a worship service at all.



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       The District’s Exposure Activities data also track the size of gatherings that COVID-

positive residents attended and whether social distancing was observed. The data show that over

93% of the time, the gatherings were under 50 people. For the week of December 4, the most

common social gathering size was 5-10 people (68.7%). A large majority reported that social

distance was “NOT Maintained” during these gatherings (60.2%). These data, like the District’s

other data, simply do not support imposing additional limits on the Archdiocese’s religious

services, where social distancing is carefully maintained and supervised. See App’x C

                      2.      Hard numerical caps do not further the District’s interest in
                              preventing the spread of COVID.

       Defendants bear “burdens of going forward with the evidence and of persuasion” to show

that their chosen means—an in-person cap—“is in furtherance of” their interest in preventing the

spread of COVID. O Centro, 546 U.S. at 428 (quoting RFRA, 42 U.S.C §§ 2000bb–1(b);

2000bb–2(3). Here, caps do not further the District’s claimed interest—they undermine it. With a

cap, parishioners who wish to attend Mass will be turned away from lower-density

environments—specifically the Cathedral and the Basilica—and sent toward higher-density

churches that are smaller and thus can meet the cap. Indeed, this will always be the case where a

numerical cap is used instead of a percentage limit based on a facility’s pre-existing occupancy

limits, which are keyed to the size of the facility. The District’s insistence on a cap will thus

force parishioners seeking to attend Mass into higher-density environments, which the District

admits are more likely to spread COVID than low-density environments.

       Given this scientific reality, it is unsurprising that 41 states have not found it helpful to

use a cap to further their interest in preventing the spread of COVID—an interest that is identical

to the District’s. Instead, these states further their interest in preventing COVID by means of

social distancing, mask-wearing, and other cooperative CDC-approved means—or, in some



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states, percentage limits. But the District has presented no evidence that it even considered the

practices of the “vast majority of States” that do not use caps, much less explained why its

situation is so different that it justifies taking a different path. Holt v. Hobbs, 574 U.S. 352, 368

(2015). The situation is thus exactly like the situation in Holt, where Arkansas could not explain

why it was in a small minority of states that did not allow religious beard accommodations for

Muslim prisoners even though it had the same interest as all the other states—prison security. Id.

at 368-69. To prevail on this application, under Holt, the District has to explain why it is so

different from the 41 states without caps, or it needs to explain why all those states are wrong

and it is right. It doesn’t even try.

                        3.       Hard numerical caps are not the least restrictive means
                                 available to the District.

        The District has no response to the point that there are less-restrictive means to prevent

the spread of COVID at worship services without a hard numerical cap. The District could use

percentage-of-capacity-based limits instead, as it does in comparable secular settings—and as

Diocese of Brooklyn expressly recognized as an adequate alternative. 2020 WL 6948354, at *2.

Or the District could follow the same approach as 32 other states, which do not impose any direct

capacity-based limits at all and instead rely on social-distancing and mask-wearing requirements

plus sanitization protocols. And at a minimum, the District’s new 250-person cap establishes

beyond quibble that the 50-person cap is not narrowly tailored and must be struck down.

        The District’s main defense relies on the denial of a writ of injunction in Calvary Chapel

Dayton Valley v. Sisolak, 140 S. Ct. 2603 (2020). Opp. at 17. The District asserts that its 50-

person cap must be upheld because the Supreme Court “did not enjoin” “the same 50-person cap”

in that case. Id. But this argument entirely fails to grapple with the Supreme Court’s subsequent

decision in Diocese of Brooklyn, where the Supreme Court explicitly concluded that the



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“maximum attendance at a religious service could be tied to the size of the church or synagogue,”

such that the State’s hard numerical caps in that case were not the least restrictive means for

furthering a compelling governmental interest. 2020 WL 6948354, at *2.

       Indeed, the Ninth Circuit recently applied Diocese of Brooklyn, which it called “a seismic

shift in Free Exercise law,” to enjoin the very same 50-person cap in Calvary Chapel Dayton

Valley v. Sisolak, --- F.3d ---, 2020 WL 7350247, at *3-5 (9th Cir. Dec. 15, 2020). The Ninth

Circuit specifically found that less-restrictive means were available, because “‘maximum

attendance at a religious service could be tied to the size of the [house of worship].’” Id. (citing

Diocese of Brooklyn, 2020 WL 6948354, at *2). The District quibbles with the Ninth Circuit’s

ruling and contends that, unlike in Calvary Chapel, a percentage-based cap here is inadequate.

But the District cannot have it both ways, at times relying on Calvary Chapel and at other times

dismissing it. Opp. at 17. And in any event, the District’s less restrictive regulations on

comparable businesses—such as laundromats, garages, and train stations, see Diocese of

Brookyn, 2020 WL 6948354, at *2—completely undermines the District’s assertion that there are

no less restrictive means to combatting COVID than the District’s numeric cap.

       The experience and policies of other jurisdictions reinforce this point. As explained

previously, the District is an extreme outlier with respect to restrictions on indoor, in-person

religious gatherings. ECF No. 11-2 at 24. In the last week of November, when the Order took

effect, 32 states had no restrictions on indoor, in-person worship; and of the minority that did,

most did not use numerical caps. For the few that did use numerical caps, almost none were as

low as the District’s 50-person cap. Id.

       The District fails to respond to this argument or to the evidence that Masses have been

safely conducted in Maryland and Virginia without the irrational 50-person cap imposed by the




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District. Mot. at 2, 6, 24; Carson Decl. ¶¶ 15-18, 21-22. Again, “[t]hat so many other

[jurisdictions]” give churches more leeway “while ensuring [health] safety . . . suggests that the

[District] could satisfy its [health] concerns through a means less restrictive” than its hard 50-

person cap. Holt, 574 U.S. at 368-69; see also Capitol Hill Baptist, 2020 WL 5995126, at *9

(existence of less restrictive policies in similar jurisdictions “casts doubt on the need for the

District’s chosen policy”); Hobby Lobby, 573 U.S. at 730-31 (determining less restrictive means

were available in part by existence of alternative “approach” used in similar circumstances).

       Furthermore, since the end of November, the national situation has only made the

District’s position even more of an outlier. As of December 17, 2020, 32 states place no capacity

limits on indoor, in-person worship. Nine states restrict indoor, in-person worship based on

capacity or occupancy, and only 9 states and the District impose hard, numerical caps. App’x D.

       Indeed, following the Supreme Court’s decision in Diocese of Brooklyn and subsequent

decisions by the Supreme Court and lower courts, at least two states—Colorado and Nevada—

have removed fixed caps on the number of people who can attend a worship service. Colorado

now places no hard numerical caps or even capacity-based restrictions on worship services. See

Colorado Department of Public Health & Environment, Third Amended Public Health Order 20-

36: Covid-19 Dial (Dec. 7, 2020), available at https://drive.google.com/file/d/14El-

qBmb1QTLZb2lBuGdocZrJMJlx3wy/view;             Colorado    Department     of Public    Health    &

Environment, Places of worship & associated ceremonies (Dec. 11, 2020), available at

https://covid19.colorado.gov/worship-guidance (“Worship and associated ceremonies such as

weddings and funerals are classified as critical. This means that they must do their best to follow

public health recommendations but may make exceptions if they cannot conduct their essential

activity within those restrictions.”). And hours after the Ninth Circuit issued its opinion, Nevada




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announced new guidance removing its fixed 50-person cap on houses of worship in favor of a 25%

capacity limit. Nevada Health Response, Nevada Covid-19 Safety Guidance: Places of Worship

(Dec. 15, 2020), available at https://nvhealthresponse.nv.gov/wp-content/uploads/2020/12/

Places-of-Worship.UPDATED-12-15.pdf (“Faith gatherings and houses of worship are limited to

25 percent of fire code capacity.”). This new authority and these recent developments all confirm

what was already clear: the District’s numerical cap is not the least restrictive means of

protecting public health.

       Finally, if all this was not enough, the District’s recent, eleventh-hour retreat to a 250-

person cap dooms its arguments in favor of a 50-person cap. “The least-restrictive-means

standard is exceptionally demanding, and it requires the government to show that it lacks other

means of achieving its desired goal[.]” Holt, 574 U.S. at 365 (cleaned up). Here, by definition the

District’s new 250-person cap is less restrictive than a 50-person cap and thereby establishes that

it has “other means of achieving its desired goal.” Id. As a result, the 50-person cap is not the

least restrictive means of protecting public health and must be enjoined as to the Archdiocese.

This does not mean of course that the 250-person cap passes muster, see supra, just that the

District is estopped from arguing for the 50-person cap.

III.   THE EQUITABLE FACTORS SUPPORT RELIEF

       The equitable factors continue to favor relief. The District does not dispute that the loss

of freedoms protected by RFRA or the First Amendment, “for even minimal periods of time,

unquestionably constitutes irreparable injury.” Diocese of Brooklyn, WL 6948354, at *3.

        The District does not dispute that “i[t] is in the public interest” to ensure compliance

with RFRA and the First Amendment. Opp. 26. It emphasizes (at 21-22) the dangers posed by

COVID, but that does not justify capping the Archdiocese’s Masses because there is no evidence

that they have “resulted in the spread of the disease.” Diocese of Brooklyn, 2020 WL 6948354, at


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*3. The District points to a case involving an Episcopal church, which is not connected to the

Archdiocese. Opp. at 21. The District also alludes to a Catholic priest who contracted the virus,

but does not allege that his infection “le[d] to the spread of COVID-19.” Opp. 21. The District

thus fails to dispute that there has not been a single outbreak related to the Archdiocese’s public

Masses despite thousands of Masses in Maryland without fixed caps.

         Finally, the Order issued last night does not affect the equities, nor does the District

argue otherwise. See Opp. at 20-22. As noted, the District studiously declines to promise that it

will not re-impose a 50-person cap. Instead, it expresses annoyance that the Archdiocese must

hold in-person services unlike “[t]he vast majority of houses of worship.” Order at 3. And the

District’s filings before this Court remain adamant that the discriminatory 50-person cap was

wholly lawful. In these circumstances, the equities and public interest “still call for” relief.

Diocese of Brooklyn, 2020 WL 6948354, at *3.

                                        CONCLUSION

        For the foregoing reasons, Plaintiff requests that the Court grant the application for

injunctive relief.




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Respectfully submitted, this the 17th day of December, 2020.



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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 17th, 2020, a true and correct copy of

the foregoing was electronically filed using the CM/ECF system, which will send notification of

such filing to all counsel of record.



                                                   /s/ Anthony J. Dick
                                                   Anthony J. Dick

                                                   Counsel for Plaintiff
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                         APPENDIX D
